UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


PATRICIA CUMMINGS,

                       Plaintiff,
                                                          Index No.: 19-CV-1664-SJF
              - against -

THE CITY OF NEW YORK, et al.,

                       Defendants.


                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the annexed Declaration of Richard D. Rochford,

dated June 28, 2019 and the exhibit thereto, and the accompanying Memorandum of Law dated

June 28, 2019, Defendants Hechinger Institute on Education and the Media, an institute of

Teachers College, Columbia University and Dr. Andre Perry (collectively, the “Hechinger

Defendants”) will move this Court before the Honorable Sandra J. Feuerstein, United States

District Judge, at the United States District Court for the Eastern District of New York, 100

Federal Plaza, Central Islip, New York 11722, at a date and time to be determined by the Court,

to dismiss the Complaint in this action in its entirety pursuant to Fed. R. Civ. P. 12(b)(6).

       PLEASE TAKE FURTHER NOTICE that pursuant to the Court’s Individual Rules, any

opposing affidavits and answering memoranda of law must be served within fourteen (14) days

of service of this motion. Reply papers, if any, must be served within seven (7) days of service

of the opposition papers.
Dated: June 28, 2019
       New York, New York
                                HAYNES AND BOONE, LLP
                                Attorneys for Hechinger Defendants


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